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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Central District of California [~]

 

Core Optical Technologies, LLC

 

Plaintiff(s)
Vv.
Acacia Communications, Inc.

Civil Action No. 8:21-cv-01473-CJC (JDEx)

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Acacia Communications. Inc

170 W. Tasman Dr.

San Jose, CA 95134

c/o CSC - Lawyers Incorporating Service
2710 Gateway Drive, Suite 150N
Sacramento, CA 95833

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
Lawrence Hadley

Glaser Weil Fink Howard Avchen & Shapiro LLP
10250 Constellation Boulevard, 19th Floor

Los Angeles, CA 90067

Tel: (310) 553-3000

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Kiry K. Gray
CLERK OF COURT

Date: 09/09/2021 Lledart

Signature of Clerk or Deputy Clerk

 

 

 
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Civil Action No. 8:21-cv-01473-CJC (JDEx)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

1 I personally served the summons on the individual at (place)

 

on (date) ; or

 

1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
1 J returned the summons unexecuted because > or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:
